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                       IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                 SAVANNAH DIVISION

BRIAN J. HUFFMAN, as                         )
Administrator of the Estate of               )
Eliud Montoya-Arcos, Deceased,               )
                                             )
              Plaintiff,                     )
                                             )
       v.                                    )          CV 418-184
                                             )
THE DAVEY TREE EXPERT                        )
COMPANY, et al.,                             )
                                            )
              Defendants.                    )
                                        _________

                                        ORDER
                                        _________

       The Court GRANTS Defendants The Davey Tree Expert Company and Wolf Tree,

Inc.’s request for a fourteen-day extension of time to file motions to dismiss as set by the

Court’s March 27, 2024 Order. (Doc. no. 198.) The new deadline to file motions to dismiss is

extended through and including May 29, 2024.

       SO ORDERED this 10th day of May, 2024, at Augusta, Georgia.
